           Case 5:22-mj-01501-HJB Document 2 Filed 10/04/22 Page 1 of 4                       FILED
                                                                                         October 04, 2022
                                                                                        CLERK, U.S. DISTRICT COURT
                               UNITED STATES DISTRICT COURT                             WESTERN DISTRICT OF TEXAS
                                WESTERN DISTRICT OF TEXAS                                  Breanna Coldewey
                                                                                  BY: ________________________________
                                   SAN ANTONIO DIVISION                                                   DEPUTY

UNITED STATES OF AMERICA,                            §
                                                     §
                                                     §
v.                                                   §       SA22-
                                                     §
JASON DUHAIME                                        §               SA:22-MJ-1501
                                                     §
                                                     §


       GOVERNMENT’S MOTION FOR DETENTION HEARING, FOR DETENTION,
                       AND FOR CONTINUANCE

TO THE UNITED STATES MAGISTRATE JUDGE:

       The Government, by and through the United States Attorney for the Western District of Texas

and the undersigned Assistant United States Attorney, and pursuant to 18 U.S.C. § 3141, et. seq, moves

for pretrial detention of Defendant; for a detention hearing regarding the above-named Defendant; and

for a continuance of said hearing. In support of these motions, the Government shows as follows:

I.     MOTION FOR DETENTION HEARING

       The Government requests that a hearing be set regarding detention pursuant to 18 U.S.C. §

3142(f), as this matter involves one of more of the following:

       an offense with a maximum sentence of life imprisonment or death

       a qualifying controlled substance offense with a maximum sentence of 10 years or more

       a felony offense that involves the possession or use of a firearm (including but not limited to
       felon in possession of a firearm), destructive device, or any other dangerous weapon

       a felony offense that is a crime of violence as defined under 18 U.S.C. § 3156(a)(4) to include
       a felony offense under 18 U.S.C. chapter 77, 109a, 110 or 117

       DI elony offense that involves a minor victim

       an offense that involves failure to register as a sex offender under 18 U.S &

       a serious risk that the Defendant will flee

       a serious risk that the Defendant will obstruct or attempt to obstruct justice
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II.    MOTION FOR DETENTION

       Grounds for detention. The Government further requests that Defendant be detained pending

trial in this case pursuant to 18 U.S.C. §§ 3141(a) and 3142(e), because no condition or combination

of conditions will reasonably assure:

       Defendant’s appearance as required

       the safety of any other person or the community



III.   MOTION FOR CONTINUANCE

       Three-day continuance. Pursuant to 18 U.S.C. § 3142(f), the Government moves for a three-

day continuance of the detention hearing in the matter.



IV.    NOTICE OF REBUTTABLE PRESUMPTION IN FAVOR OF DETENTION

       Presumption of detention.        In addition, the Government gives notice that 18 U.S.C. §

3142(e)(3) establishes a rebuttable presumption that no condition or combination of conditions will

reasonably assure the appearance of the person as required and the safety of the community, because

there is probable cause to believe that Defendant committed:

       a qualifying controlled substance offense with a maximum sentence of 10 years or more

       an offense under 18 U.S.C. § 924(c)

       an offense under 18 U.S.C. chapter 77 for which a maximum term of imprisonment of 20
       years or more is prescribed

       a qualifying offense involving a minor victim
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V.     NOTICE OF APPLICABILITY OF TEMPORARY DETENTION OF UP TO 10 DAYS

       Temporary detention. The Government gives notice, pursuant to 18 U.S.C. § 3142(d), that

Defendant is subject to temporary detention of up to ten days, as Defendant may flee or pose a danger

to any other person or the community, and Defendant was:

       at the time the offense was committed, on release pending trial for a felony offense

       at the time the offense was committed, on release pending imposition or execution of
       sentence, appeal of sentence or conviction, or completion of sentence for an offense

       at the time the offense was committed, on probation or parole for an offense

       and is not, a United States citizen or not admitted lawfully for permanent residence



                                              Respectfully submitted,

                                              $6+/(<&+2))
                                              United States Attorney

                                                     6
                                      BY:     ____________________________
                                              Matthew Lathrop
                                              Assistant United States Attorney
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                                              601 NW Loop 410, Suite 600
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                         UNITED STATES MAGISTRATE COURT

                             WESTERN DISTRICT OF TEXAS

                                 SAN ANTONIO DIVISION


UNITED STATES OF AMERICA,                      Œ
                                               Œ
       Plaintiff,                              Œ       SA22-
                                               Œ
v.                                             Œ
                                               Œ
JASON DUHAIME                                  Œ
                                               Œ
       Defendant.                              Œ



                                          ORDER

       On this date the Court considered the Government’s Motion to Detain Defendant, and the

Court having reviewed said motion enters the following Orders:

       IT IS HEREBY ORDERED that the Defendant be temporarily detained pending a

hearing on the Government’s Motion and until further Order of the Court, pursuant to 18 USC

3142(f).

       IT IS FURTHER ORDERED that Defendant’s bond hearing is set for

_________________________ at _______ a.m. / p.m.



       SIGNED AND ENTERED on:_______________


                                           ___________________________________

                                           UNITED STATES MAGISTRATE JUDGE
